           Case 1:18-cr-00315-JEJ Document 18 Filed 10/09/18 Page 1 of 4



                          NOVEMBER 2018 TRIAL LIST
                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Case Name                             Criminal or Civil No.

USA v. Derek Jones                            17cr91(2)
USA v. Edward Harris                          17cr92(1)
USA v. Christopher Johnson                    17cr163
USA v. Gamarius Jones                         18cr145
USA v. Thomas Bradley                         18cr188
USA v. Terrence Pearsall                      18cr214
USA v. Kenyatta Corbett                       18cr269
USA v. Nagy Mohamed Abdelhamed                18cr314
USA v. Jorge Luis Rosa-Hernandez              18cr315

                                           ORDER
                                        October 9, 2018

                                     TABLE OF CONTENTS

      ¶l      Trial List

      ¶2      Juries

      ¶3      Order of Trials

      ¶4      Notice of Start of Each Trial

      ¶5      Progress of the List

      ¶6.1    Points for Charge

      ¶6.2    Special Verdict Questions

      ¶7      Exhibits, Proof of Contents of

      ¶8      Proposed Voir Dire Questions in Criminal Cases

      ¶9      Continuances

      ¶l0     Local Rules

      ¶l1     Pro Se Parties

      ¶12     Exhibits for JERS
            Case 1:18-cr-00315-JEJ Document 18 Filed 10/09/18 Page 2 of 4




       l.       Trial List. The above cases will comprise the trial list for the November 2018

session for the undersigned judge. The list will constitute a trailing docket.

       2.       Juries. Juries will be drawn in the above order beginning at 9:30 a.m. on

November 5, 2018 for those cases on the list which are to be tried to a jury. If a case is to be

tried to a summary jury, simultaneously with or immediately following selection of the regular

jury in that case, a summary jury will also be selected for that case. Counsel in each case shall

take notes of the jurors' biographies as they are given in prior cases so that no juror will be

required to give his or her biography in open court more than twice on a given jury drawing date.

No attorney or party shall personally or through an investigator or other person directly or

indirectly interview, question or examine any juror during the pendency of the trial or with

respect to deliberations or verdict of the jury except with leave of court upon good cause shown.

       3.       Order of Trials. Criminal cases will be tried first. Thereafter, the civil cases will

be tried in the above order without distinction as between jury and non-jury cases.

       4.       Notice of Start of Each Trial. The deputy clerk shall call to advise one attorney

on each side, in each case, of the commencement of the trial. This will be done with as much

notice as possible.

       5.       Progress of the List. Each counsel shall have the responsibility of communicating

with this Court’s Deputy Clerk to ascertain the progress of the cases on the list so that he or she

will be ready when called.

       6.       Points for Charge and Special Verdict Questions.

            6.1 Points for Charge. Points for charge shall be electronically filed, one
             Case 1:18-cr-00315-JEJ Document 18 Filed 10/09/18 Page 3 of 4



to a page, identified by the name of the party and a number, and shall state the best authority for

the point. Only the first page need contain the caption. In order that the Court will ordinarily

have ample time to prepare the charge, points for charge shall be submitted no later than

three (3) business days before trial and may be supplemented for matters arising during the

trial which could not have been reasonably anticipated by the party submitting such

supplemental points. M.D. Pa. Local Rule 51.1. The proposed points shall contain the precise

language which the Court is requested to use in its charge to the jury.

        6.2     Special Verdict Questions. Each party shall submit proposed special verdict

questions no later than three (3) business days before trial.

        7.      Exhibits, Proof of Contents of. On the trial commencement day each counsel

shall provide the deputy clerk with three (3) pre-marked exhibit binders. One binder shall remain

on the witness stand and the other two binders shall be provided for the Judge and law clerk.

Pages of exhibits exceeding 2 pages in length shall be numbered unless the exhibits are dated and

arranged in a chronological or reverse chronological order. Normally, immediately after a

witness has concluded his testimony the Court will entertain a motion for admission of all

exhibits identified for the first time by that witness.

        8.      Proposed Voir Dire Questions in Criminal Cases. In all criminal cases, each party

shall file proposed voir dire questions no later than seven (7) business days prior to jury

selection. No party shall submit more than twelve (12) proposed voir dire questions without

prior leave of Court.

        9.      Continuance of Trial. A motion for continuance of trial which is not concurred in

by opposing counsel shall be electronically filed at least two weeks before the date set for the

start of jury selection unless the reason for the motion for continuance subsequently arises.
             Case 1:18-cr-00315-JEJ Document 18 Filed 10/09/18 Page 4 of 4



       10.      Local Rules. The Local Rules were most recently revised effective December 1,

2012. A copy of the current Local Rules may be obtained from the Clerk of the Court or online

at www.pamd.uscourts.gov.

       l1.      Pro Se Parties. Any party who is not represented by counsel shall have all the

duties which would normally be placed upon his or her counsel by the Local Rules, this order,

and other orders of this Court.

       12.      Exhibits for JERS. Each counsel shall submit to the Court all

exhibits in PDF format on a disc no later than five (5) business days prior to jury selection.

Each exhibit shall be its own PDF document within the disc.


                                             s/ John E. Jones III
                                             John E. Jones III
                                             United States District Judge
